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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF ALABAMA
                                   NORTHERN DIVISION

JOSHUA DUNN, et al.,                                   )
                                                       )
                   Plaintiffs,                         )
                                                       )
v.                                                     )       CIVIL ACTION NO.:
                                                       )       2:14-cv-00601-MHT-TFM
JEFFERSON S. DUNN, et al.,                             )
                                                       )
                   Defendants.                         )

     JOINT RESPONSE TO COURT’S SECOND SUPPLEMENTAL BRIEFING ORDER

            Plaintiffs and the Alabama Department of Corrections (“ADOC”) submit this joint brief

in response to this Court’s Second Supplemental Briefing Order of June 20, 2014. (Doc. 539.)

            Question 1:   Does the arbitrator contemplated by the Parties’ Amended
                          Settlement Agreement have authority to enforce his own
                          orders? (See Doc. 539 at 2–3)

            Short Answer: No. Any decision by the arbitrator must be enforced through this Court’s

contempt power. However, as explained below, the Parties believe that any contempt

proceedings will be relatively straightforward.

            Question 2:   Will the arbitrator’s conclusions in resolving a dispute under
                          Section VII of the Amended Settlement Agreement be binding
                          on the Court in deciding a motion to terminate or extend under
                          18 U.S.C. § 3626(b)? (See Doc. 539 at 3.)

            Short Answer: The doctrine of collateral estoppel should make the arbitrator’s findings

of fact binding upon the court. However, because the arbitrator’s conclusions of law will rarely,

if ever, involve the same legal issue or the same parties, the arbitrator’s conclusions of law

should not be binding.




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                                                 BACKGROUND

            Phase 1 of this action involves claims that the Alabama Department of Corrections

(“ADOC”) violated § 504 of the Rehabilitation Act as well as the Americans with Disabilities

Act (“ADA”). On May 25, 2016, the Parties reached an agreement to settle fully all claims

asserted as part of Phase 1. The Parties submitted the Amended and Restated Settlement

Agreement (Doc. 518) (“Amended Settlement Agreement”) the very next day, May 26, 2016.

            The Amended Settlement Agreement contains two provisions that are relevant here. First,

Section VII creates a dispute resolution procedure. 1 As part of this dispute resolution process,

the Parties agree to submit disputes related to the Amended Settlement Agreement to an

arbitrator for resolution. (Doc. 518 at 70.) If the dispute is one that involves 12 or fewer inmates,

the Parties have agreed that the arbitrator’s resolution of the dispute shall be final and binding.

(Id. at 71.) If the dispute involves more than 12 inmates, then the arbitrator’s decision may be

appealed to this Court and will be reviewed under an abuse of discretion standard. (Id.)

            Second, Section IX of the Amended Settlement Agreement permits early termination of

the consent decree. (Doc. 518 at 73.) By its terms, the consent decree is to last six years and

automatically terminate after that time. 2 However, ADOC is allowed to move to terminate the

consent decree under 18 U.S.C. § 3626(b) after five years. Under the terms of the Amended

Settlement Agreement, this Court can grant a motion for early termination only if it finds that

ADOC is currently in substantial compliance with the terms of the Amended Settlement

Agreement and has been in substantial compliance for the preceding 12 months. (Id. at 73.)

Conversely if, after six years, the Plaintiffs believe that this Court’s jurisdiction over the consent


            1
                The parties are still working to memorialize the exact scope of the dispute resolution procedure.
            2
         The Parties have previously agreed that this six year period does not violate the two-year sunset
provision of the Prison Litigation Reform Act (“PLRA”) (Doc. 560).



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decree period should be extended, Plaintiffs may move for an extension. This Court may grant

such an extension only if it finds that “based on the record that prospective relief remains

necessary to correct a current and ongoing violation of the Federal right, extends no further than

necessary to correct the violation of the Federal right, and that the prospective relief is narrowly

drawn and the least intrusive means to correct the violation.” 18 U.S.C. § 3626(b)(3).

            On June 20, 2016, this Court asked the Parties to submit a joint brief in response to two

questions about the above provisions. First, this Court asked whether the arbitrator would have

authority to enforce his own orders. Second, this Court asked whether the arbitrator’s findings

would be binding upon the Court in deciding a motion to terminate or extend the duration of the

consent decree. (Doc. 539 at 2–3.) This is the Parties’ response.

                                             DISCUSSION

  I.        The arbitrator would not have authority to enforce his own orders but would,
            instead, have to rely on the contempt power of this district court.

            The parties seek the entry of a consent decree that will have the force and effect of an

injunction issued by this Court. In the Eleventh Circuit, a consent decree is enforced through the

district court’s contempt power. See Reynolds v. McInnes, 338 F.3d 1201, 1208 (11th Cir. 2003)

(stating that “consent decrees, like all injunctions, are to be enforced through the trial court's civil

contempt power”). The Eleventh Circuit has explained the procedures for enforcing a consent

decree. First, a party must move the court to enter a show cause order why the offending party

should not be held in contempt. See Wyatt By & Through Rawlins v. Rogers, 92 F.3d 1074, 1078

n.8 (11th Cir. 1996). If the court is satisfied that the moving party has established a violation, it

should enter a show cause order and set a hearing. Id. The offending party would then have an

opportunity to file a written response and explain why he or she should not be held in contempt.




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Id.; see Thomason v. Russell Corp., 132 F.3d 632, 634 n. 4 (11th Cir.1998) (describing contempt

procedures); Newman v. State of Ala., 683 F.2d 1312, 1318 (11th Cir. 1982) (same).

            Assuming that the Court approves the Amended Settlement Agreement and enters the

proposed consent decree, then that decree would have the same force and effect as an order of

this Court. See R.C. ex rel. Ala. Disabilities Advocacy Program v. Walley, 390 F. Supp. 2d 1030,

1042-43 (M.D. Ala. 2005) (“A consent decree is a strange hybrid in the law. It is both a

voluntary settlement agreement which could be fully effective without judicial intervention and a

final judicial order placing the power and prestige of the court behind the compromise struck by

the parties. A consent decree, therefore, is a settlement agreement subject to continued judicial

policing. Once approved, the prospective provisions of the consent decree operate as an

injunction.”) (internal alterations, quotation marks, and citations omitted). In this case, the

Amended Settlement Agreement provides that “[i]f the Parties are unable to resolve the issue(s)

timely and satisfactorily, the Parties agree to present the issue(s) for binding arbitration” and that

“[i]f the issue is one that impacts fewer than twelve (12) inmates, resolution through the

arbitration process shall be the final resolution under the Amended Agreement.” (See Doc. 518 at

70–71.) Assuming the Amended Settlement Agreement is approved and a final judgment

entered, these provisions would have the effect of an injunction from this Court. Thus, if a party

refused to obey the arbitrator, he or she would be in violation of an order of this Court. A party

aggrieved by the noncompliance could move this Court for an order to show cause, and the

offending party would have an opportunity to respond. This Court would then hold a show cause

hearing. Upon a finding of noncompliance, this Court could enter an appropriate contempt

sanction.




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            It is worth noting that the arbitrator’s orders will presumably be clear and unambiguous.

As such, this Court’s inquiry at the show cause hearing will be straightforward in all but the most

exceptional cases. The inquiry will be whether the allegedly offending party complied with the

arbitrator’s order. If this Court finds he has not, then that party would be in violation of Section

VII of the Amended Settlement Agreement, which plainly requires the Parties to comply with the

final decisions of the arbitrator. 3 It is also worth pointing out that, should the Parties disagree

about what actions are sufficient to comply with the arbitrator’s final decision, that dispute

would itself be subject to arbitration under Section VII of the Amended Settlement Agreement.

That will, of course, return the dispute to the very same arbitrator who issued the order in the

first place and allow him to correct any ambiguities in his previous order. Therefore, few if any

disputes will reach this Court without a clear directive from the arbitrator about what the

offending party must or must not do.

            Further, in any contempt proceeding, this Court would not have to consider whether the

arbitrator’s decision was wrong. The Federal Arbitration Act provides that a court may only

review the decisions of an arbitrator “in very unusual circumstances.” 4 First Options of Chicago,

Inc. v. Kaplan, 514 U.S. 938, 942 (1995). These grounds are specifically spelled out in the FAA:

(1) corruption or fraud (2) evident partiality or corruption; (3) misconduct by the arbitrator in

conducting the proceedings; or (4) where the arbitrator exceeds his powers or so imperfectly

executes them such that a mutual, final, and definite award upon the subject matter submitted

            3
          The Amended Settlement Agreement requires the Parties to comply with the decisions of the
Arbitrator regardless of whether the decision affects 12 or more inmates. (Doc. 518 at 71.) The only
caveat is that a decision affecting 12 or more inmates may be appealed to (and modified by) this Court.
(Id.) Of course, if this Court modified the arbitrator’s decision and a party refused to comply with this
Court’s modification, then it would necessarily follow that this Court could, after following the
appropriate procedures, hold that party in contempt.
            4
           The FAA applies here because the Amended Settlement Agreement is a written agreement to
arbitrate that touches and concerns interstate commerce. See 9 U.S.C. § 1.



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was not made. 9 U.S.C. § 10. As the Supreme Court has affirmed repeatedly, these exceptions

are extremely narrow. See Oxford Health Plans LLC v. Sutter, 133 S. Ct. 2064, 2068 (2013). In

fact, “[i]t is not enough . . . to show that the [arbitrator] committed an error—or even a serious

error. Because the parties bargained for the arbitrator's construction of their agreement, an

arbitral decision even arguably construing or applying the contract must stand, regardless of a

court's view of its (de)merits.” Id. (internal citations and quotation marks omitted). Accordingly,

an offending party could not show “good cause” for refusing to comply by showing that the

arbitrator made the wrong decision. As such, this Court’s review at the show cause hearing

should be straightforward.

 II.        The doctrine of collateral estoppel should make the arbitrator’s findings of fact
            binding on this Court but the arbitrator’s conclusions of law would fail the first and
            fourth elements of the collateral estoppel analysis.

            The doctrine of collateral estoppel provides that an (1) identical issue that is (2) actually

litigated and (3) is a critical and necessary part of the judgment is binding against a party that

(4) had a full and fair opportunity to litigate that issue in the first action. See Christo v. Padgett,

223 F.3d 1324, 1339 (11th Cir. 2000). An arbitration order is entitled to the same collateral

estoppel effect as a prior decision from a court. See Blau v. Bill Heard Chevrolet Corp.-Orlando,

422 B.R. 293, 304 (N.D. Ala. 2009) (“An arbitrator's order is just as binding on the parties as is a

court order, that is, unless and until that order is set aside by a court of competent jurisdiction.”);

Chorley Enterprises, Inc. v. Dickey's Barbecue Restaurants, Inc., 807 F.3d 553, 566 (4th Cir.

2015) (“Arbitration awards generally have the same preclusive effect as court orders . . . .”).

            Thus, assuming that the above requirements are met, issues that are decided by the

arbitrator will be binding on this court. The Parties believe that issues of fact decided by the

arbitrator will satisfy the above requirements in most situations. This conclusion depends on two

assumptions: (1) the arbitrator will make only those factual findings that are critical and


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necessary to his final decision and (2) the arbitrator will grant the parties a full and fair

opportunity to be heard on all issues. If these assumptions are met, then an identical factual issue

addressed in an earlier arbitration will be binding on this Court in deciding a motion to

terminate. 5

            During the status conference on July 11, 2016, the Parties suggested that an example of a

finding of fact that might be binding—specifically, that ADOC had failed to appoint an ADA

Coordinator at a particular facility. However, this is an overly simplistic example which, as the

Court pointed out, would essentially dictate the legal conclusion to be drawn from that factual

finding. A better example would be a situation where an inmate alleged that the ADA

Coordinator failed to perform a specific function as to that particular inmate. For example, the

Amended Settlement Agreement provides that the ADA Coordinator for each facility shall

“receive and respond to all ADA Request Forms for that facility.” (Doc. 518 at 48.) In this

example, an inmate, Mr. Jones, may allege that he submitted an ADA Request Form seeking a

cane but that he received no response. The ADA Coordinator may argue that Mr. Jones never

submitted an ADA Request Form. If this dispute is submitted to arbitration, 6 a finding by the

arbitrator that Mr. Jones did not submit the form (or vice versa) would be binding on this Court.

            It is important to note the limited effect of this factual finding. On a motion to terminate,

both Plaintiffs and the ADOC will almost certainly rely on statistical evidence of system-wide

compliance or noncompliance rather than evidence particular to a single inmate. For example,

            5
          Collateral estoppel is an affirmative defense and must be raised. If the ADOC elected not to
raise the defense of collateral estoppel in supporting a motion to terminate, then the defense could be
deemed waived. In that situation, this Court potentially would be free to revisit the arbitrator’s factual
determinations.
            6
          As discussed at the telephone conference on July 11, 2016, the Parties are still identifying the
matters that should be submitted to arbitration. In using this example, the parties are not representing that
this type of issue is one that must or should be submitted to arbitration. Instead, this example is merely
intended to show how a factual issue might arise that would trigger the doctrine of collateral estoppel.



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ADOC may argue that, system-wide, there were ten ADA Request Forms submitted and that

ADOC successfully responded to all ten of them. Plaintiffs may counter that there were actually

twenty ADA Request Forms submitted and that ADOC just ignored and/or did not report ten of

them. In this situation, Plaintiffs would be collateral estopped from arguing that ADOC had

ignored Mr. Jones’ request because the arbitrator found that Mr. Jones did not actually submit

one. However, Plainitffs could still argue that Mr. Jones is an inmate that was entitled to a cane

under the ADA, that ADOC had an affirmative obligation to identify his disability and provide

him with a cane, and that ADOC’s failure to identify Mr. Jones’ disability shows that ADOC was

not in compliance with the terms of the Amended Settlement Agreement. 7 Additionally, the

arbitrator’s findings as to Mr. Jones would not prevent Plaintiffs from making the same argument

as to other inmates (provided the arbitrator has not found that these other inmates also failed to

submit ADA Request Forms).

            Conversely, the Parties believe that the arbitrator’s conclusions of law would not be

binding under the doctrine of collateral estoppel for at least two reasons. First, in the above

example, the arbitration involving Mr. Jones and the ADOC would not include the entire class.

Mr. Jones, then, would be the only person who had a full and fair opportunity to litigate the legal

questions in the arbitration, which would mean that element four would be lacking for the

remaining class members. 8

            Second, the legal issues presented on a motion to terminate will almost always be

different than the legal issue presented in an arbitration. The court’s inquiry on a motion to

            7
           ADOC does not agree that it would have an affirmative obligation to identify Mr. Jones’
disability or that its failure to identify that disability and provide an appropriate accommodation would be
a violation of the ADA. However, ADOC does agree that this argument would, in this situation, not be
barred by the doctrine of collateral estoppel.
            8
          A different result is reached for conclusions of fact because the other class members would lack
standing to press Mr. Jones’ claim that he did (or did not) submit the ADA Request Form.



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terminate or extend would center on ADOC’s present compliance with the ADA and

Rehabilitation Acts for the Phase 1 claims and whether the consent decree extends no further

than necessary to correct any existing violations. See 18 U.S.C. § 3626. For example, the issue

might be: is ADOC currently violating the ADA and/or the Amended Settlement Agreement

because the ADA Coordinators are refusing to consider properly submitted ADA Request Forms.

The legal conclusion reached in Mr. Jones’s arbitration—that there was no violation of the

Amended Settlement Agreement or the ADA because Mr. Jones did not, in fact, submit a request

form—would be a different legal issue and, therefore, would fail element one of the collateral

estoppel analysis.

            Finally, there is a possibility that the arbitrator’s conclusions of fact would not satisfy the

collateral estoppel analysis. For instance, in the example involving Mr. Jones, the arbitrator may

find that the ADA Coordinator is fully trained and effective. Arguably, this finding would not be

critical or necessary to the arbitrator’s factual finding that Mr. Jones did not submit an ADA

Request Form. In that situation, the arbitrator’s findings of fact would not be binding on this

Court. However, for the reasons discussed above, the Parties believe that such a situation will be

the exception rather than the rule. Therefore, the Parties believe that the arbitrator’s findings of

fact will be binding on this Court in deciding a motion to terminate but that the arbitrator’s

conclusions of law will not.




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            Respectfully submitted, this the 15th day of July, 2016.



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                               CERTIFICATE OF SERVICE

       I hereby certify that on July 15, 2016, a copy of the above and foregoing was filed with
the United States District Court for the Middle District of Alabama using the CM/ECF system
which sent notification to all counsel of record.

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